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UNITED STATES DISTRICT COURT

for the
District of Idaho, Northern Division

JASON HENRY ALLEN and Individually and as

Trustee of RIKUR PRIVATE IRREVOCABLE TRUST
)
Plaintiff )
y ) Civil Action No. CV 25-0172-NDKG
)
) U.S. COURTS
Idaho Central Credit Union and Brian M. Berrett )
)
Defendant
AFFIDAVIT OF SERVICE

I, Tamy Holjeson, state:

I am 18 years or older and not a party to this action or a member of a corporation or organization that is a
party to this action.

I served the following documents to Idaho Central Credit Union in Bannock County, ID on April 9, 2025 at
10:20 am at 4400 Central Way, Chubbuck, ID 83202 by leaving the following documents with Brittany
Nixon who as Operations support supervisor is authorized by appointment or by law to receive service of
process for Idaho Central Credit Union.

Summons In A Civil Action and Complaint

Declaration Of Trust

Registered Mail Receipt; Cease And Desist Letter

Retail Installment Sale Contract

Form Itd 3337; Ucc-1 Financing Statement; Rikur Private Irrevocable Trust Agreement

White Female, est. age 25-34, glasses: N, Blonde hair, 140 Ibs to 160 Ibs, 5'3" to 5'6".
Geolocation of Serve: https://google.com/maps?q=42.9141478375,-112.4635406627
Photograph: See Exhibit 1

Total Cost: $0.00

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I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.

Executed in Isl Te d Ht G
Signature
Bannock County > Tamy Holjeson
ID on — 4/10/2025 . +] (208) 251-9411

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